                                                  UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF OHIO

IN RE:                                                            )         CASE NO. 16-51100

MARLENE SMITH                                                     )        CHAPTER 7

      Debtor(s)                                                   )        BANKRUPTCY JUDGE: ALAN M. KOSCHIK


                                           TRUSTEE’S NOTICE OF PROPOSED ABANDONMENT

         Notice is given, in accordance with Rule 6007 of the Federal Rules of Bankruptcy Procedure and §554 of the United States Bankruptcy
Code, of the Trustee’s proposed abandonment of this property (the “Property”):

         Description of Property:                                          Vacant Lot, Hempfield Twsp., Westmoreland County, PA
                                                                           Parcel ID No: 50-09-00-0-074
         Estimated Market Value                                            $3,663.00
         Source of Valuation:                                              Pursuant to debtor’s testimony
         Amount of Liens:                                                  None
         Claimed Exemptions:                                               None

Your rights may be reduced, modified, or eliminated. You should read these papers carefully and discuss them with your attorney, if you
have one.

Please take notice that unless an objection or request for hearing on this proposed abandonment is filed, the Property will be deemed abandoned
according to law without further order of the Court or action by the Trustee.

If you object to the proposed abandonment, on or before November 17, 2017 you or your attorney must:

1.       File with the Court an objection at the following address:
                  Clerk of the United States Bankruptcy Court
                  455 U.S. Courthouse-Federal Building
                  2 South Main Street, Akron, Ohio 44308

If you mail your response to the Court for filing, you must mail it early enough so that the Court will receive it on or before the date stated above.

2.       Mail a copy of Your Objection to Each of the Following:

         Trustee:          Harold A. Corzin, Chapter 7 Trustee, 304 N. Cleveland-Massillon Road, Akron, Ohio, 44333
         Office of the U. S. Trustee, HMM US Court House, 201 Superior Ave., Room 441, Cleveland, Ohio, 44114

You and/or your attorney must attend any hearing scheduled by the Court.

Dated: October 25, 2017                                           Respectfully submitted,

                                                                  /s/ Harold A. Corzin
                                                                  HAROLD A. CORZIN, TRUSTEE
                                                                  304 N. Cleveland-Massillon Road
                                                                  Akron, Ohio 44333
                                                                  (330) 670-0770 Voice
                                                                  (330) 670-0297 Facsimile
                                                                  hcorzin@csu-law.com




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I CERTIFY THAT ON October 25, 2017 copies of this Notice of Proposed Abandonment were served upon
Attorney for Debtor(s)
        Mona Rubinstein
        by Electronic Mail

Debtor(s)
        Marlene Smith
        937 N. Jefferson St.
        Medina, OH 44056
        by Regular U.S. Mail


The Office of the United States Trustee
by Electronic Mail
                                                                /s/ Harold A. Corzin
                                                                HAROLD A. CORZIN, TRUSTEE




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